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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                      No. 2:20-CR-00045-GAM

     v.
                                              Honorable: Gerald Austin McHugh
ABDUR RAHIM ISLAM
SHAHIED DAWAN
KENYATTA JOHNSON
DAWN CHAVOUS


               DEFENDANT DAWN CHAVOUS’S MOTION TO JOIN
          DEFENDANT KENYATTA JOHNSON’S SUBMISSION REGARDING
                  JURY QUESTION ON FRAUD BY OMISSION


       Defendant Dawn Chavous, by and through her undersigned counsel, respectfully joins in

Defendant Kenyatta Johnson’s Submission Regarding Jury Question on Fraud by Omission (ECF

No. 297), filed on April 15, 2022.

                                                 Respectfully submitted,

       Dated: April 15, 2022                     /s/ Elizabeth M. Casey
                                                 Barry Gross
                                                 Elizabeth M. Casey
                                                 Henry M. Grabbe
                                                 FAEGRE DRINKER
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                                                 Attorneys for Defendant Dawn Chavous
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                                CERTIFICATE OF SERVICE

       I, Elizabeth M. Casey, hereby certify that on this day I caused a true and correct copy of

the foregoing to be filed electronically with the Case Management/Electronic Case Filing System

(“CM/ECF”) for the Federal Judiciary. Notice of this filing will be sent to all parties by operation

of the Notice of Electronic Filing system, and the parties to this action may access this filing

through CM/ECF.


       Dated: April 15, 2022                         /s/ Elizabeth M. Casey
                                                        Elizabeth M. Casey
